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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION


PAUL HACKER,                                                  }       Case No. 9:17-cv-80043

PLAINTIFF                                                     }

                                                              }

v.                                                            }

                                                              }

MEDIA COLLECTIONS, INC.                                       }

DEFENDANT                                      }
_______________________________________________/



                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       Plaintiff Paul Hacker and Defendant Media Collections, Inc., by and through undersigned

counsel, hereby submit this Joint Stipulation of Dismissal with Prejudice and stipulate that this matter

is settled; that the parties agree that the case shall be dismissed with prejudice; and that the parties

request the court enter an order saying same.


       Respectfully submitted this 18th day of May, 2017,




                                       [Signature blocks on Page 2]
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